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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:13-CR-43

vs.
                                             MEMORANDUM AND ORDER
JAMIE ANN UTTERBACH-
VALENZUELA,

                 Defendant.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on Plea of Guilty (filing 804) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts
the findings and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation on Plea of
           Guilty are adopted.
      2.   The defendant is found guilty. The plea is accepted. The Court
           finds that the plea of guilty is knowing, intelligent, and
           voluntary, and that a factual basis exists for the plea.
      3.   The Court defers acceptance of any plea agreement until the time
           of sentencing, pursuant to Fed. R. Crim. P. 11(c)(3). Unless
           otherwise stated at the time of sentencing, any plea agreement
           will be deemed accepted upon the pronouncement of the
           judgment and sentence.
      4.   This case shall proceed to sentencing.

      Dated this 23rd day of August, 2016.

                                          BY THE COURT:


                                          John M. Gerrard
                                          United States District Judge
